OPINION — AG — (1) MEMBERS OF A REGULAR PRECINCT ELECTION BOARD IN A CITY WILL BE ENTITLED TO BE PAID BY THE STATE OF OKLAHOMA THE COMPENSATION PROVIDED THEREFOR BY LAW IN HOLDING SAID STATE WIDE SPECIAL ELECTION, AS WELL AS TO BE PAID BY SAID CITY THE COMPENSATION PROVIDED THEREFOR BY LAW IN HOLDING SAID CITY ELECTION. (2) THE COUNTERS IN SAID CITY ELECTION WILL BE ENTITLED TO BE PAID COMPENSATION FOR THEIR SERVICES BY THE CITY AS PROVIDED BY LAW, BUT WILL NOT BE ENTITLED TO BE PAID COMPENSATION FOR THEIR SERVICES BY THE STATE OF OKLAHOMA. CITE: 11 O.S.H. 27, 11 O.S.H. 31, 26 O.S.H. 555(A) (FRED HANSEN)